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                Research



                JAMA | Original Investigation

                Transgender Identity and Suicide Attempts and Mortality in Denmark
                Annette Erlangsen, PhD; Anna Lund Jacobsen, BSc; Anne Ranning, PhD; Alex Lauridsen Delamare, MSc;
                Merete Nordentoft, DMSc; Morten Frisch, MD, PhD


                                                                                                                            Supplemental content
                   IMPORTANCE Prior studies have suggested that transgender individuals may be a high-risk
                   group with respect to suicide attempt and mortality, but large-scale, population-based
                   investigations are lacking.

                   OBJECTIVE To examine in a national setting whether transgender individuals have higher rates
                   of suicide attempt and mortality than nontransgender individuals.

                   DESIGN, SETTING, AND PARTICIPANTS Nationwide, register-based, retrospective cohort study
                   on all 6 657 456 Danish-born individuals aged 15 years or older who lived in Denmark
                   between January 1, 1980, and December 31, 2021.

                   EXPOSURE Transgender identity was determined through national hospital records and
                   administrative records of legal change of gender.

                   MAIN OUTCOMES AND MEASURES Suicide attempts, suicide deaths, nonsuicidal deaths, and
                   deaths by any cause during 1980 through 2021 were identified in national hospitalization and
                   causes of death registers. Adjusted incidence rate ratios (aIRRs) with 95% CIs controlling for
                   calendar period, sex assigned at birth, and age were calculated.

                   RESULTS The 6 657 456 study participants (50.0% assigned male sex at birth) were followed
                   up during 171 023 873 person-years. Overall, 3759 individuals (0.06%; 52.5% assigned male
                   sex at birth) were identified as transgender at a median age of 22 years (IQR, 18-31 years) and
                   followed up during 21 404 person-years, during which 92 suicide attempts, 12 suicides, and
                   245 suicide-unrelated deaths occurred. Standardized suicide attempt rates per 100 000
                   person-years were 498 for transgender vs 71 for nontransgender individuals (aIRR, 7.7; 95%
                   CI, 5.9-10.2). Standardized suicide mortality rates per 100 000 person-years were 75 for
                   transgender vs 21 for nontransgender individuals (aIRR, 3.5; 95% CI, 2.0-6.3). Standardized
                   suicide-unrelated mortality rates per 100 000 person-years were 2380 for transgender vs
                   1310 for nontransgender individuals (aIRR, 1.9; 95% CI, 1.6-2.2), and standardized all-cause
                   mortality rates per 100 000 person-years were 2559 for transgender vs 1331 for
                   nontransgender individuals (aIRR, 2.0; 95% CI, 1.7-2.4). Despite declining rates of suicide
                   attempts and mortality during the 42 years covered, aIRRs remained significantly elevated in
                   recent calendar periods up to and including 2021 for suicide attempts (aIRR, 6.6; 95% CI,
                   4.5-9.5), suicide mortality (aIRR, 2.8; 95% CI, 1.3-5.9), suicide-unrelated mortality (aIRR, 1.7;
                   95% CI, 1.5-2.1), and all-cause mortality (aIRR, 1.7; 95% CI, 1.4-2.1).

                   CONCLUSIONS AND RELEVANCE In this Danish population-based, retrospective cohort study,
                   results suggest that transgender individuals had significantly higher rates of suicide attempt,
                   suicide mortality, suicide-unrelated mortality, and all-cause mortality compared with the
                   nontransgender population.




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                Research Original Investigation                                              Transgender Identity and Suicide Attempts and Mortality in Denmark




                T
                        he prevalence of transgender individuals, defined as per-
                        sons whose gender identity or gender expression does           Key Points
                        not conform to that typically associated with the sex to
                                                                                       Question Do transgender individuals have higher rates of suicide
                which they were assigned at birth,1 varies greatly between stud-       attempt and mortality than nontransgender individuals?
                ies. A meta-analysis of 27 international studies conducted be-
                                                                                       Findings In this nationwide cohort study of 6 657 456
                tween 1968 and 2014 reported a prevalence of less than 0.01%
                                                                                       Danish-born individuals, transgender individuals identified
                based on transgender-related diagnoses.2 In a US survey from
                                                                                       through hospital and administrative registers had significantly
                2014, the proportion of individuals aged 13 years or older iden-       higher rates of suicide attempt (adjusted incidence rate ratio
                tifying as transgender was estimated at 0.6%,3 and in a na-            [aIRR], 7.7), suicide mortality (aIRR, 3.5), suicide-unrelated
                tionally representative study conducted in Denmark in 2017             mortality (aIRR, 1.9), and all-cause mortality (aIRR, 2.0) compared
                to 2018, 0.1% of those aged 15 to 89 years were estimated to           with nontransgender individuals.
                be transgender.4                                                       Meaning This Danish population-based cohort study spanning
                     The first gender identity–affirming surgery in Denmark            more than 4 decades found that transgender individuals had
                took place in 1952.5 Since 1968, individuals undergoing such           higher rates of suicide attempt and mortality compared with
                surgery could get their recorded sex updated in the national           nontransgender individuals.
                Civil Registration System to reflect their gender identity. In
                2014, a law was passed enabling all Danish residents aged 18
                years or older to apply for legal change of gender regardless       National Patient Register, where diagnoses were recorded ac-
                of whether hormone therapy or gender identity–affirming sur-        cording to the International Classification of Diseases (ICD). All
                gery had taken place.6 In 2017, new guidelines were imple-          register data were linked by Statistics Denmark, and to pre-
                mented to make transgender health care more accessible.7            serve confidentiality and adhere to Danish and European Union
                     Prior studies suggest a higher risk of suicide attempt and     data protection regulations, a pseudonymized combined data
                suicide among transgender individuals than that observed in         set was used for the analyses.18
                the general population.8-13 However, the existing evidence is
                largely derived from clinical samples or surveys in which sam-      Study Cohort
                pling or information bias cannot be excluded.8,9,11-13 The aim      We applied a cohort design in which all Danish-born individu-
                of the present national cohort study was to provide an up-          als aged 15 years or older were included. Individuals born out-
                dated, robust assessment of whether transgender individu-           side the country were excluded because records of changes in
                als identified from hospital records and records of legal change    personal identifiers among immigrants often reflect correc-
                of gender have higher rates of suicide attempt and of suicide,      tions of mistakes in the initial recording of the person’s sex,
                suicide-unrelated mortality, and all-cause mortality than the       which could not be distinguished from a legal change of gen-
                population of nontransgender individuals when data were ad-         der. Moreover, premigration factors, such as traumas and as-
                justed for potential confounding by calendar period, sex as-        sociated posttraumatic stress experienced by refugees, might
                signed at birth, and age.                                           influence an individual’s risk of suicide attempt and mortal-
                                                                                    ity independently of any gender identity–related issues.19

                                                                                    Exposure
                Methods                                                             Cohort members were considered to be transgender if a hos-
                This cohort study was approved by the Knowledge Center for          pital record suggested so, if the individual’s recorded sex had
                Data Reviews, Capital Region of Copenhagen. According to            been changed in the Civil Registration System, or both.
                Danish legislation, individual informed consent is not re-               Data from the Psychiatric Central Research Register since
                quired for register-based studies.                                  1969 and the National Patient Register since 1977 were screened
                                                                                    for any diagnostic codes suggesting a transgender or gender-
                Data                                                                diverse identity according to ICD-8 or ICD-10 (ICD-8: 302.39
                We obtained nationwide, longitudinal data from the Civil Reg-       and 302.59; ICD-10: F640, F642, F648, F649, Z768E, and
                istration System on all persons living in Denmark for at least 1    Z768E1-Z768E4); ICD-9 was never implemented in Denmark.
                day between January 1, 1980, and December 31, 2021.14 Each          Information on outpatient and emergency department con-
                resident has a unique 10-digit personal identifier, whose last      tacts was available since 1995. Individuals were considered to
                digit reflects the recorded sex of the individual (uneven de-       be transgender from the date when a transgender-related di-
                notes male and even denotes female). This identifier allowed        agnostic code was first recorded.
                for identity-secure, individual-level linkage with data re-              Individuals aged 18 years or older who had been recorded
                corded in the National Patient Register, the Psychiatric Cen-       once (and only once) with a legal change of gender since 1977
                tral Research Register, and the Register of Causes of Death.15-17   in the complete population extract from the Civil Registra-
                In addition, a complete population extract of all historical        tion System were considered to be transgender from the date
                changes, including changes reflecting a possible legal change       of this change (Figure 1).
                of gender, was obtained from the Civil Registration System. In-          Individuals who were identified as transgender through
                formation on psychiatric and medical comorbidities was de-          both data sources were considered as transgender from the ear-
                rived from the Psychiatric Central Research Register and the        liest of these events.

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                Transgender Identity and Suicide Attempts and Mortality in Denmark                                                                        Original Investigation Research




                Figure 1. Identification of 3759 Transgender Individuals in a Cohort of 6 657 456 Danish-Born Individuals Aged 15 Years or Older
                Who Resided in Denmark for at Least 1 Day Between January 1, 1980, and December 31, 2021

                               3495 Individuals with ≥1 record in the Psychiatric         1 894 194 Individuals with possible change to
                                    Central Research Register (since 1969) and/or                   their 10-digit PID between 1968-2021
                                    the National Patient Register with ICD codes
                                    indicating transgender identity

                                                                                                                          1 892 613 Individuals excluded
                                                                                                                                    836 544 Born outside of Denmark
                                                                                                                                    987 402 Only 1 recorded PIDa
                                                                                                                                      55 745 PID change occurred before 1977b
                                                                                                                                       9809 PID change occurred before age 18 y
                                                                                                                                       3092 PID changes other than legal
                                                                                                                                             change of gender
                                                                                                                                          21 >1 Recorded legal change of gender
                                                                                                                                             or legal change of gender occurred
                                                                                                                                             with >1-day intervalc




                                                                3759 Transgender individuals identified
                                                                     3495 Through hospital records
                                                                     1581 Through administrative records
                                                                     1317 Through both sources


                ICD indicates International Classification of Diseases; PID, personal identifier.           to the Civil Registration System in subsequent years, suggestive of error
                a
                    Legal change of gender was identified as 2 separate records in the Civil                corrections rather than legal change of gender. For this reason, PID corrections
                    Registration System, in which the first record indicated the date until which           made before 1977 were disregarded.
                                                                                                        c
                    the sex assigned at birth was considered valid and the second record indicated          Individuals for whom the legal change of gender was not recorded as taking
                    the date when the legal change of gender took place.                                    place on 2 consecutive dates were excluded.
                b
                    The 10-digit PID was introduced in 1968 and there were multiple corrections




                Medical and Psychiatric Comorbidities                                                   unrelated deaths were defined as all deaths except suicide, and
                Individuals with medical comorbidity were those recorded in                             a joint outcome for any cause of death was also included.
                the National Patient Register as inpatient contacts during 1977
                through 2021, as well as outpatient and emergency contacts                              Statistical Analysis
                during 1995 through 2021, with 1 or more medical disorders                              We inspected visually the observation time among transgen-
                listed in the Charlson Comorbidity Index.20 Psychiatric co-                             der individuals by calendar year and age group in a Lexis sur-
                morbidity was defined as 1 or more psychiatric hospital con-                            face diagram.22 We calculated crude incidence rates (IRs) and
                tacts as inpatients during 1969 through 2021 or outpatient and                          indirectly standardized IRs per 100 000 person-years for pe-
                emergency contacts during 1995 through 2021 recorded in the                             riod, sex assigned at birth, and age for the 4 study outcomes
                Psychiatric Central Research Register or the National Patient                           (suicide attempt, suicide death, suicide-unrelated death, and
                Register, excluding contacts related to issues regarding gen-                           death by any cause), using the total population (ie, transgen-
                der identity or sexual orientation (ICD-8: 290-315, except 302;                         der and nontransgender individuals) as the reference popu-
                ICD-10: F00-F99, except F64-F66).                                                       lation. For each outcome, regression models assuming a nega-
                                                                                                        tive binomial distribution were used to compare IRs among
                Outcomes                                                                                transgender and nontransgender individuals by means of ad-
                Suicide attempts were identified as hospital contacts in which                          justed IR ratios (aIRRs). Standardized IR differences and aIRRs
                such attempts were recorded as either the main or a second-                             were calculated both overall and in strata of calendar period
                ary diagnosis (ICD-8: E950-E959; ICD-10: X60-X84) or the con-                           (1980-1989, 1990-1999, 2000-2009, and 2010-2021), sex as-
                tact reason was listed as suicide attempt in a supplementary                            signed at birth (male and female), and age (15-24, 25-39, 40-59,
                hospital coding system (code 4 or ALCC04). All suicide at-                              60-79, and ≥80 years), or merged categories hereof when num-
                tempts recorded in connection with psychiatric (since 1969)                             bers were limited. We considered aIRRs as statistically signifi-
                or somatic (since 1977) hospital admissions or in connection                            cant when the associated 2-sided 95% CIs excluded unity (1.0).
                with emergency department or outpatient contacts (since                                 With use of expected numbers of events derived from the es-
                1995), as listed in the Psychiatric Central Research Register or                        timation of the standardized IRs, 95% CIs were calculated for
                the National Patient Register, were included.                                           the standardized IR differences.23 We had complete data for
                     Deaths by suicide (ICD-8: E950-E959; ICD-10: X60-X84 and                           all covariates, all of which except sex assigned at birth were
                Y87.0) were identified in the Register of Causes of Death, which                        included as time-varying variables and updated on the exact
                contains records of the causes of all deaths occurring in                               date of change. Cohort members who emigrated or died were
                Denmark. A 92% agreement has been reported between offi-                                censored on the date of either of these events. In analyses of
                cial Danish suicide records and expert assessments.21 Suicide-                          suicide attempts, cohort members were followed up until the

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                Research Original Investigation                                                      Transgender Identity and Suicide Attempts and Mortality in Denmark




                Table 1. Demographic and Health-Related Characteristics of 3759 Transgender Individuals
                and 6 653 697 Nontransgender Individuals, Denmark, 1980-2021

                                                  Transgender individuals            Nontransgender individuals
                                                  PY               %                 PY                      %
                 Overall                          21.4             100.0             171 002                 100.0
                 Calendar period
                   1980-1989                      0.9              4.4               39 957                  23.4
                   1990-1999                      1.8              8.4               40 642                  23.8
                   2000-2009                      3.7              17.4              40 396                  23.6
                   2010-2021                      14.9             69.8              50 007                  29.2
                 Sex assigned at birth
                   Male                           12.4             58.1              84 030                  49.1
                   Female                         9.0              41.9              86 973                  50.9
                 Age, y
                                                                                                                                  Abbreviation: PY, person-years
                   15-24                          5.3              24.9              27 212                  15.9                 (thousands).
                   25-39                          6.2              29.1              41 736                  24.4                 a
                                                                                                                                      Defined as diagnoses of 1 or more
                   40-59                          6.6              30.7              54 922                  32.1                     medical disorders listed in the
                                                                                                                                      Charlson Comorbidity Index20 and
                   60-79                          2.9              13.6              38 563                  22.6
                                                                                                                                      recorded in the National Patient
                   ≥80                            0.3              1.5               8570                    5.0                      Register during 1977 through 2021.
                 Medical comorbiditya                                                                                             b
                                                                                                                                      Defined as diagnoses of 1 or more
                   None                           17.4             81.5              143 265                 83.8                     psychiatric disorders
                                                                                                                                      (ICD-8: 290-315, except 302;
                   Any                            4.0              18.5              27 738                  16.2
                                                                                                                                      ICD-10: F00-F99, except F64-F66)
                 Psychiatric comorbidityb                                                                                             as recorded in the Psychiatric
                   None                           12.2             57.1              158 934                 92.9                     Central Research Register or the
                                                                                                                                      National Patient Register during
                   Any                            9.2              42.9              12 069                  7.1
                                                                                                                                      1969 through 2021.


                date of a first suicide attempt, after which they were cen-                 gender at a median age of 24 years (IQR, 20-32 years), imply-
                sored. In a sensitivity analysis, we calculated standardized IR             ing that 1317 transgender individuals (35.0%) were identified
                differences and aIRRs restricting the transgender population                through both data sources (Figure 1). Transgender individu-
                to individuals identified as transgender through hospital rec-              als were observed during a total of 21 404 person-years. Ob-
                ords and to individuals identified as transgender through rec-              servation time increased during calendar time from a total of
                ords of legal change of gender. Individuals identified in both              940 person-years in 1980-1989 to 13 978 person-years in 2012-
                data sources were included in both groups.                                  2021 and was in recent years predominantly accrued among
                     Because of the potential for type I error due to mul-                  individuals aged 18 to 39 years (Figure 2).
                tiple comparisons, findings for the analyses should be inter-
                preted as exploratory. All statistical analyses were conducted              Suicide Attempt
                with the genmod and stdrate procedures in SAS version 9.4                   During follow-up, hospital records of 1 or more suicide at-
                (SAS Institute Inc).                                                        tempts were identified for 92 transgender individuals (me-
                                                                                            dian age at first attempt, 27 years; IQR, 19-40 years) and for
                                                                                            119 093 nontransgender individuals (median age at first at-
                                                                                            tempt, 36 years; IQR, 23-50 years) (Table 2). Standardized IRs
                Results                                                                     of suicide attempt per 100 000 person-years were 498 and 71
                In our cohort of 6 657 456 Danish-born individuals (50.0% as-               among transgender and nontransgender individuals, respec-
                signed male sex at birth and 50.0% assigned female) who were                tively, with a standardized IR difference of 428 (95% CI, 393-
                observed during 171 023 873 person-years, a total of 3759 in-               463) suicide attempts per 100 000 person-years. Adjusted for
                dividuals (0.06%) were identified as having a transgender iden-             calendar period, sex assigned at birth, and age, transgender
                tity at a median age of 22 years (IQR, 18-31 years). Of these in-           identity was associated with an aIRR for suicide attempt of 7.7
                dividuals, 1975 (52.5%) had been assigned male sex at birth                 (95% CI, 5.9-10.2). Using rates among nontransgender indi-
                (median age, 23 years; IQR, 19-31 years), and 1784 (47.5%) had              viduals in the same calendar period as reference, aIRRs were
                been assigned female sex at birth (median age, 22 years; IQR,               11.2 (95% CI, 6.0-20.9), 7.2 (95% CI, 3.7-14.0), 8.1 (95% CI, 4.9-
                17-31 years). The distribution of observation time (person-                 13.3), and 6.6 (95% CI, 4.5-9.5) in 1980-1989, 1990-1999, 2000-
                years) among transgender and nontransgender individuals is                  2009, and 2010-2021, respectively. The IRs of suicide at-
                shown in Table 1. Among transgender individuals, 3495 (93.0%)               tempt were significantly elevated both among transgender
                had been recorded with a transgender-related diagnosis at a                 individuals assigned male sex at birth (aIRR, 8.5; 95% CI, 6.2-
                median age of 22 years (IQR, 18-31 years) at first relevant hos-            11.7) and those assigned female sex at birth (aIRR, 6.8; 95% CI,
                pital contact, and 1581 (42.1%) had obtained a legal change of              4.4-10.5) compared with nontransgender individuals of the

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                Figure 2. Observation Time (Person-Years) Among 3759 Transgender Individuals by Calendar Year and Age,
                Denmark, 1980-2021

                                        95                                                                                    900

                                        85                                                                                    300

                                        75                                                                                    100

                                        65                                                                                    75




                                                                                                                                    Person-years
                               Age, y




                                        55                                                                                    50

                                        45                                                                                    25

                                        35                                                                                    10

                                        25                                                                                    1                         The distribution of person-years by
                                                                                                                                                        calendar year and age was obtained
                                        15                                                                                    0                         by aggregating the exact number of
                                         1980   1985    1990     1995      2000     2005   2010      2015         2020                                  person-days spent by transgender
                                                                            Year                                                                        individuals in each stratum and
                                                                                                                                                        summarized as person-years.


                Table 2. Suicide Attempt Among 3649 Transgender Individuals and 6 644 474 Nontransgender Individuals, Denmark, 1980-2021a

                                                 Transgender individuals                   Nontransgender individuals                              Standardized IR      Adjusted incidence
                                                                     Standardized IR                                     Standardized IR           difference           rate ratio
                                                 No.      IR         (95% CI)b             No.              IR           (95% CI)b                 (95% CI)b            (95% CI)c
                    Overall                      92       456        498 (402-611)         119 093          71           71 (70-71)                428 (393-463)        7.7 (5.9-10.2)
                    Calendar period
                      1980-1989                  10       1113       1070 (513-1969)       38 198           96           96 (95-97)                974 (768-1181)       11.2 (6.0-20.9)
                      1990-1999                  9        534        568 (260-1078)        31 725           79           79 (78-80)                489 (359-619)        7.2 (3.7-14.0)
                      2000-2009                  17       487        563 (328-901)         27 460           69           69 (68-70)                494 (413-575)        8.1 (4.9-13.3)
                      2010-2021                  56       397        282 (213-366)         21 710           44           44 (44-45)                238 (197-279)        6.6 (4.5-9.5)
                    Sex assigned at birth
                      Male                       51       435        526 (392-692)         52 397           63           63 (62-64)                463 (422-505)        8.5 (6.2-11.7)
                      Female                     41       485        461 (331-626)         66 696           78           78 (77-78)                384 (323-444)        6.8 (4.4-10.5)
                    Age, y
                      15-24                      38       745        795 (563-1092)        34 303           127          127 (126-128)             668 (574-763)        6.6 (4.4-10.0)
                      25-39                      29       491        720 (482-1035)        33 915           82           82 (82-83)                638 (577-698)        8.8 (6.1-12.7)
                      40-59                      20       329        432 (264-668)         32 899           61           61 (60-62)                372 (317-426)        7.1 (4.6-11.1)
                      ≥60                        5        161        236 (76-550)          17 976           39           39 (38-39)                197 (140-254)        6.1 (2.5-14.7)
                Abbreviation: IR, incidence rate per 100 000 person-years.                                2000-2009, and 2010-2021), sex assigned at birth (male or female), and age
                a
                    In analyses of suicide attempt, a total of 3649 transgender individuals and           (15-24, 25-39, 40-59, and ⱖ60 years) using indirect standardization with the
                    6 644 474 nontransgender individuals were included, which is fewer than in            total population as reference.
                                                                                                      c
                    the mortality analyses because individuals who had a recorded suicide                 The adjusted incidence rate ratios were adjusted for calendar period
                    attempt before 1980 or before the date when they were first identified as             (1980-1989, 1990-1999, 2000-2009, and 2010-2021), sex assigned at birth
                    transgender were censored on the date of their first suicide attempt.                 (male or female), and age (15-24, 25-39, 40-59, and ⱖ60 years).
                b
                    Rates were standardized for calendar period (1980-1989, 1990-1999,




                same assigned sex at birth. Compared with nontransgender                              tality per 100 000 person-years were 75 among transgender
                peers, IRs of suicide attempt were significantly higher for trans-                    individuals vs 21 among nontransgender individuals, result-
                gender individuals aged 15 to 24 years (aIRR, 6.6; 95% CI, 4.4-                       ing in a standardized IR difference of 54 (95% CI, 37-71) sui-
                10.0), 25 to 39 years (aIRR, 8.8; 95% CI, 6.1-12.7), 40 to 59 years                   cides per 100 000 person-years and an aIRR of 3.5 (95% CI, 2.0-
                (aIRR, 7.1; 95% CI, 4.6-11.1), and 60 years or older (aIRR, 6.1;                      6.3). Using rates among nontransgender individuals in the same
                95% CI, 2.5-14.7).                                                                    calendar period as reference, aIRRs for suicide mortality were
                                                                                                      5.4 (95% CI, 2.2-13.2) in 1980-1999 and 2.8 (95% CI, 1.3-5.9) in
                Suicide Mortality                                                                     2000-2021. Compared with that for nontransgender male in-
                Twelve transgender individuals died by suicide (median age,                           dividuals, the IR of suicide mortality was significantly higher
                45 years; IQR, 35-50 years), whereas 36 308 suicides (median                          among transgender individuals assigned male sex at birth
                age, 52 years; IQR, 40-66 years) occurred among nontrans-                             (aIRR, 4.5; 95% CI, 2.6-8.0). There were no suicide deaths
                gender individuals (Table 3). Standardized IRs of suicide mor-                        among transgender individuals assigned female sex at birth.

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                Table 3. Suicide Mortality, Suicide-Unrelated Mortality, and All-Cause Mortality Among 3759 Transgender Individuals
                and 6 653 697 Nontransgender Individuals, Denmark, 1980-2021
                                                                                                                                                                      Adjusted
                                            Transgender individuals                        Nontransgender individuals                         Standardized IR         incidence
                                                                Standardized IR                                       Standardized IR         difference              rate ratio
                                            No.     IR          (95% CI)a                  No.           IR           (95% CI)a               (95% CI)a               (95% CI)b
                    Suicide mortality
                    Overall                 12      56          75 (39 to 132)             36 308        21           21 (21 to 21)           54 (37 to 71)           3.5 (2.0 to 6.3)
                    Calendar period
                      1980-1999             5       183         161 (52 to 375)            23 454        29           29 (29 to 29)           132 (64 to 200)         5.4 (2.2 to 13.2)
                      2000-2021             7       37          40 (16 to 83)              12 854        14           14 (14 to 14)           26 (10 to 43)           2.8 (1.3 to 5.9)
                    Sex assigned at birth
                      Male                  12      97          133 (69 to 232)            24 699        29           29 (29 to 30)           103 (78 to 129)         4.5 (2.6 to 8.0)
                      Female                0                                              11 609        13           13 (13 to 14)
                    Age, y
                      15-39                 5       43          59 (19 to 138)             8966          13           13 (13 to 13)           46 (29 to 64)           4.6 (1.9 to 11.2)
                      ≥40                   7       71          82 (33 to 169)             27 342        27           27 (26 to 27)           55 (25 to 86)           3.1 (1.4 to 6.6)
                    Suicide-unrelated mortality
                    Overall                 245     1145        2380 (2091 to 2697)        2 240 198     1310         1310 (1308 to 1312)     1070 (963 to 1176)      1.9 (1.6 to 2.2)
                    Calendar period
                      1980-1999             57      2083        3071 (2326 to 3979)        1 105 252     1371         1371 (1369 to 1374)     1700 (1339 to 2061)     2.3 (1.7 to 3.0)
                      2000-2021             188     1007        2157 (1860 to 2488)        1 134 946     1255         1255 (1253 to 1258)     902 (792 to 1012)       1.7 (1.5 to 2.1)
                    Sex assigned at birth
                      Male                  142     1143        2348 (1978 to 2768)        1 125 421     1339         1339 (1337 to 1342)     1009 (867 to 1151)      1.8 (1.5 to 2.1)
                      Female                103     1147        2450 (2000 to 2972)        1 114 777     1282         1282 (1279 to 1284)     1169 (1008 to 1329)     2.0 (1.6 to 2.5)
                    Age, y
                      15-39                 8       69          84 (36 to 165)             41 175        60           60 (59 to 60)           24 (−16 to 64)          1.4 (0.7 to 2.8)
                      40-59                 62      943         995 (763 to 1275)          222 662       405          405 (404 to 407)        589 (439 to 739)        2.5 (1.9 to 3.2)
                      60-79                 108     3697        4075 (3343 to 4920)        957 709       2483         2483 (2478 to 2488)     1592 (1047 to 2136)     1.6 (1.3 to 2.0)
                      ≥80                   67      20 318      20 923                     1 018 652     11 887       11 887                  9036                    1.8 (1.4 to 2.3)
                                                                (16 215 to 26 571)                                    (11 864 to 11 910)      (5369 to 12 703)
                    All-cause mortality
                    Overall                 257     1201        2559 (2255 to 2891)        2 276 506     1331         1331 (1329 to 1333)     1227 (1122 to 1333)     2.0 (1.7 to 2.4)
                    Calendar period
                      1980-1989             15      1596        2963 (1658 to 4886)        547 431       1370         1370 (1366 to 1374)     1593 (1043 to 2142)     2.2 (1.3 to 3.7)
                      1990-1999             47      2617        3499 (2571 to 4653)        581 275       1430         1430 (1427 to 1434)     2069 (1591 to 2547)     2.4 (1.8 to 3.3)
                      2000-2009             77      2069        2779 (2193 to 3474)        538 934       1334         1334 (1331 to 1338)     1445 (1125 to 1766)     2.1 (1.6 to 2.8)
                      2010-2021             118     790         2035 (1684 to 2436)        608 866       1218         1217 (1214 to 1220)     817 (707 to 927)        1.7 (1.4 to 2.1)
                    Sex assigned at birth
                      Male                  154     1239        2608 (2212 to 3054)        1 150 120     1369         1369 (1366 to 1371)     1239 (1097 to 1381)     1.9 (1.6 to 2.3)
                      Female                103     1147        2522 (2058 to 3059)        1 126 386     1295         1295 (1293 to 1297)     1227 (1068 to 1386)     2.1 (1.7 to 2.6)
                    Age, y
                      15-39                 13      112         162 (86 to 276)            50 141        73           73 (72 to 73)           89 (48 to 130)          2.2 (1.3 to 3.8)
                      40-59                 68      1034        1138 (884 to 1443)         236 688       431          431 (429 to 433)        707 (556 to 858)        2.6 (2.1 to 3.4)
                      60-79                 109     3731        4269 (3505 to 5150)        968 060       2510         2510 (2505 to 2515)     1759 (1222 to 2296)     1.7 (1.4 to 2.1)
                      ≥80                   67      20 318      21 011                     1 021 617     11 922       11 921                  9090                    1.8 (1.4 to 2.3)
                                                                (16 284 to 26 684)                                    (11 898 to 11 945)      (5425 to 12 755)
                                                                                                          b
                Abbreviation: IR, incidence rate per 100 000 person-years.                                    The adjusted incidence rate ratios were adjusted for calendar period
                a
                    Rates standardized for calendar period (1980-1989, 1990-1999, 2000-2009, and              (1980-1989, 1990-1999, 2000-2009, and 2010-2021), sex assigned at birth
                    2010-2021), sex assigned at birth (male or female), and age (15-24, 25-39, 40-59,         (male or female), and age (15-24, 25-39, 40-59, 60-79, and ⱖ80 years), or
                    60-79, and ⱖ80 years), or merged categories hereof when numbers were                      merged categories hereof when numbers were limited.
                    limited. Indirect standardization was used with the total population as reference.




                The IRs of suicide mortality were significantly higher among                              Suicide-Unrelated Mortality
                transgender individuals aged 15 to 39 years (aIRR, 4.6; 95% CI,                           There were 245 deaths from suicide-unrelated causes among
                1.9-11.2) and 40 years or older (aIRR, 3.1; 95% CI, 1.4-6.6) com-                         transgender individuals (median age, 70 years; IQR, 57-80
                pared with similarly aged nontransgender individuals.                                     years) vs 2 240 198 nonsuicidal deaths (median age, 78 years;

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                Transgender Identity and Suicide Attempts and Mortality in Denmark                                             Original Investigation Research



                IQR, 68-85 years) among nontransgender individuals (Table 3).           pital record–identified transgender individuals (aIRR, 1.9; 95%
                Standardized IRs of suicide-unrelated mortality per 100 000 per-        CI, 1.6-2.2), but not for those identified through administra-
                son-years were 2380 among transgender individuals vs 1310               tive records (aIRR, 1.1; 95% CI, 0.8-1.5). For all-cause mortal-
                among nontransgender individuals, with a standardized IR dif-           ity, the IR was significantly higher for hospital record–
                ference of 1070 (95% CI, 963-1176) suicide-unrelated deaths per         identified transgender individuals (aIRR, 2.0; 95% CI, 1.8-
                100 000 person-years and an aIRR of 1.9 (95% CI, 1.6-2.2). Using        2.4), but not for those identified through administrative records
                IRs for nontransgender individuals in the same calendar peri-           (aIRR, 1.1; 95% CI, 0.8-1.5).
                ods as reference, aIRRs were significantly elevated during 1980-
                1999 (aIRR, 2.3; 95% CI, 1.7-3.0) and 2000-2021 (aIRR, 1.7; 95%
                CI, 1.5-2.1). Compared with those of nontransgender individu-
                als with the same assigned sex at birth, IRs of nonsuicidal mor-
                                                                                        Discussion
                tality were significantly increased for transgender individuals         In this national cohort study covering 42 years of observa-
                assigned male sex at birth (aIRR, 1.8; 95% CI, 1.5-2.1) and for those   tion, overall rates of suicide attempt, suicide mortality, suicide-
                assigned female sex at birth (aIRR, 2.0; 95% CI, 1.6-2.5). When         unrelated mortality, and all-cause mortality were consis-
                same-aged nontransgender individuals were used as refer-                tently higher among transgender than nontransgender
                ence, the IRs of suicide-unrelated mortality was significantly          individuals after controlling for calendar period, sex as-
                higher for transgender individuals aged 40 to 59 years (aIRR,           signed at birth, and age. These findings were confirmed for sui-
                2.5; 95% CI, 1.9-3.2), 60 to 79 years (aIRR, 1.6; 95% CI, 1.3-2.0),     cide attempt and suicide-unrelated and all-cause mortality in
                and 80 years or older (aIRR, 1.8; 95% CI, 1.4-2.3).                     analyses stratified by sex assigned at birth. Despite generally
                                                                                        declining rates over time for all 4 outcomes among both trans-
                All-Cause Mortality                                                     gender and nontransgender individuals living in Denmark,
                Overall, 257 deaths from any cause were observed among trans-           aIRRs remained statistically significantly elevated through-
                gender individuals (median age, 67 years; IQR, 56-80 years)             out the study period, reflecting a persistently higher risk of sui-
                vs 2 276 506 deaths (median age, 78 years; IQR, 68-85 years)            cide attempt and mortality among transgender individuals.
                among nontransgender individuals (Table 3). Standardized IRs                 Between 1980 and 2021, an increasing prevalence of trans-
                for all-cause mortality per 100 000 person-years were 2559              gender individuals was observed, which is in accordance with
                among transgender individuals vs 1331 among nontransgen-                clinical reports and systematic reviews.24,25 This trend has been
                der individuals, with a standardized IR difference of 1227 (95%         linked to a stronger presence of transgender role models in the
                CI, 1122-1333) deaths per 100 000 person-years and an aIRR of           media, destigmatization, and increased societal openness to-
                2.0 (95% CI, 1.7-2.4). Elevated IRs for all-cause mortality were        ward gender identity issues.25 The legislation regarding legal
                observed for transgender individuals in 1980-1989 (aIRR, 2.2;           change of gender in Denmark was introduced only in 2014,6
                95% CI, 1.3-3.7), 1990-1999 (aIRR, 2.4; 95% CI, 1.8-3.3), 2000-         which may explain the modest overlap between hospital record–
                2009 (aIRR, 2.1; 95% CI, 1.6-2.8), and 2010-2021 (aIRR, 1.7; 95%        identified transgender individuals and those identified through
                CI, 1.4-2.1) when using nontransgender individuals in the same          administrative records of legal change of gender. Having used
                calendar periods as reference. Compared with nontransgen-               data from 2 independent sources to identify transgender indi-
                der individuals assigned the same sex at birth, IRs for all-            viduals adds to the reliability of the obtained estimates.
                cause mortality were significantly increased for transgender                 To our knowledge, national rates of suicide attempt and
                individuals assigned male sex at birth (aIRR, 1.9; 95% CI, 1.6-         suicide mortality have not previously been reported for trans-
                2.3) and for those assigned female sex at birth (aIRR, 2.1; 95%         gender individuals. The increased rate of suicide attempt ob-
                CI, 1.7-2.6). When similarly aged nontransgender peers were             served among transgender individuals accords with baseline
                used as reference, IRs for all-cause mortality were signifi-            findings from 2017 to 2018 in a large, nationwide cohort study
                cantly higher for transgender individuals aged 15 to 39 years           from Denmark, in which 23% to 24% of transgender individu-
                (aIRR, 2.2; 95% CI, 1.3-3.8), 40 to 59 years (aIRR, 2.6; 95% CI,        als reported at least 1 lifetime suicide attempt compared with
                2.1-3.4), 60 to 79 years (aIRR, 1.7; 95% CI, 1.4-2.1), and 80 years     2% to 4% among nontransgender peers.4 The suicide mortal-
                or older (aIRR, 1.8; 95% CI, 1.4-2.3).                                  ity rate observed for transgender individuals in the present
                                                                                        study is similar to that reported for transgender individuals at-
                Sensitivity Analysis                                                    tending a clinic for gender dysphoria in Amsterdam, the Neth-
                Compared with that of nontransgender individuals, signifi-              erlands, during 1972 to 2017 (53 per 100 000 person-years),
                cantly elevated IRs of suicide attempt were observed among              which was considered to be higher than the rate in the gen-
                both hospital record–identified transgender individuals (aIRR,          eral Dutch population.26 An even higher suicide mortality rate
                8.6; 95% CI, 6.4-11.4) and those identified through adminis-            (270 per 100 000 person-years) was reported for Swedish trans-
                trative records of legal change of gender (aIRR, 5.2; 95% CI, 3.3-      gender individuals undergoing gender identity–affirming sur-
                8.0) (eTable in Supplement 1). A significantly higher IR of sui-        gery during 1973 to 2003.11 A recent population-based study
                cide mortality (aIRR, 4.0; 95% CI, 2.2-7.2) was observed among          using data from general practitioners and death statistics in
                hospital record–identified transgender individuals, whereas             England between 1988 and 2019 reported 3 to 5 times in-
                fewer than 3 suicide deaths were observed among those iden-             creased mortality from either suicide or homicide among trans-
                tified through records of legal change of gender. For suicide-          gender and gender-diverse individuals compared with non-
                unrelated mortality, the IR was significantly elevated for hos-         transgender individuals.27

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                Research Original Investigation                                                                Transgender Identity and Suicide Attempts and Mortality in Denmark



                     Well in line with the current findings, higher rates of suicide-               Limitations
                unrelated and all-cause mortality compared with those of the                        This study has several limitations. First, the findings may not
                general population have been reported for transgender indi-                         be generalizable to transgender individuals who have never
                viduals attending a clinic for cross-sex hormone treatment in                       received hospital care for gender identity–related issues or
                the Netherlands between 1972 and 2018.10 In England, all-                           applied for legal change of gender. Second, being restricted to
                cause mortality rates among transgender and gender-diverse in-                      Danish-born individuals, the findings may not necessarily
                dividuals were increased between 1.3- and 1.7-fold between 1988                     apply to transgender individuals born elsewhere. Third, hos-
                and 2019 compared with that of nontransgender individuals.27                        pital codes used to identify transgender individuals carry
                Elevated rates of all-cause mortality among transgender indi-                       descriptions that may have been perceived as stigmatizing,
                viduals have also been reported in studies from Sweden11 and                        which might have reduced their use among some health pro-
                the United States.28 In contrast, and despite a higher suicide mor-                 fessionals. Fourth, although transgender individuals might
                tality rate during 1999 to 2016, transgender US veterans had 10%                    have considered themselves as being transgender since child-
                lower all-cause mortality compared with other veterans.9                            hood or adolescence, they were here considered as such from
                     The observed excess of suicidal behavior and mortality                         the date of a first hospital record or legal change of gender.
                might, at least in part, constitute ramifications of minority                       Fifth, because of their likely role as intermediate variables
                stress. Transgender individuals may be exposed to systemic                          in the causal pathway between the exposure and the studied
                negativity regarding their trans identity in the form of bully-                     outcomes, mental and physical comorbidities were not
                ing, discrimination, exclusion, and prejudice, which in turn                        included as covariates in the analyses. Consequently, the
                may result in alienation and internalized stigma, mental health                     reported aIRRs reflect overall associations of transgender
                problems, and, ultimately, suicidal behavior.4,8,29-31 For in-                      identity with suicide attempt and mortality, which may well
                stance, findings from the Project SEXUS study in Denmark re-                        differ between subgroups of transgender individuals with
                vealed that 60% of transgender individuals had experienced                          and without comorbidities. Sixth, suicide attempts are
                abuse in the form of bullying or harassment, whereas 30%                            underrecorded in Danish hospital records.37 Consequently, to
                reported episodes of physical violence.4 In the 2015 US Trans-                      the extent transgender individuals differ from nontransgen-
                gender Survey, 46% of transgender individuals reported hav-                         der individuals in their hospital-seeking behavior after self-
                ing been verbally harassed and 13% reported having been physi-                      harming, the reported aIRRs of suicide attempt may be some-
                cally attacked within the past year.32 Moreover, transgender                        what too high or too low.
                individuals have reported experiences of discrimination from
                health professionals.30,33
                     Efforts to reduce suicidality among transgender individu-
                als are recommended. These could include direct measures,
                                                                                                    Conclusions
                such as encouragements to seek help in situations of per-                           In this population-based, retrospective cohort study, trans-
                sonal distress, and general measures have been suggested to                         gender individuals identified through hospital records and ad-
                reduce structural discrimination, such as the implementa-                           ministrative records of legal change of gender had signifi-
                tion of training and best practice guidelines among health care                     cantly higher rates of suicide attempt, suicide mortality,
                professionals and the wider use of gender-neutral public bath-                      suicide-unrelated mortality, and all-cause mortality com-
                rooms and locker rooms.34-36                                                        pared with the nontransgender population.


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                                                                        responsibility for the integrity of the data and the   of the study; collection, management, analysis, and
                Author Affiliations: Danish Research Institute for      accuracy of the data analysis.                         interpretation of the data; preparation, review, or
                Suicide Prevention, Mental Health Centre                Concept and design: Erlangsen, Nordentoft, Frisch.     approval of the manuscript; and decision to submit
                Copenhagen, Copenhagen, Denmark (Erlangsen,             Acquisition, analysis, or interpretation of data:      the manuscript for publication.
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                Mental Health, Johns Hopkins Bloomberg School of                                                               Data Sharing Statement: See Supplement 2.
                                                                        Drafting of the manuscript: Erlangsen.
                Public Health, Baltimore, Maryland (Erlangsen);         Critical revision of the manuscript for important
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                                                                        reported receiving grants from the Danish Health       (4):613-626. doi:10.1016/j.jsxm.2016.02.001
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                (Frisch); Center for Sexology Research, Department      research grant from the Danish Health Foundation       Accessed April 1, 2023. https://williamsinstitute.law.
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